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December 20, 2024

E-Filed

The Honorable Thomas S. Hixson
United States District Court for the Northern District of California
San Francisco Courthouse, Courtroom E – 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Re:     Kadrey et al. v. Meta Platforms, Inc.; Case No. 3:23-cv-03417-VC-TSH

Dear Judge Hixson:

       The parties jointly submit this letter brief regarding issues related to Meta’s Supplemental
Responses to Plaintiffs’ First, Second, and Third Sets of Interrogatories served on December 13,
2024. The parties met and conferred on December 17 but were unable to reach a resolution.
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    II.   META’S POSITION
       The issues above, which pertain to discovery served long ago, were not raised in the serial
discovery motions filed by Plaintiffs over the past several weeks, instead they were withheld until
Dec. 16, after the close of fact discovery. Like the other letter briefs filed today, Plaintiffs’
manufactured discovery disputes raise issues that are baseless, irrelevant, and/or time-barred.
        First, as to Meta’s responses to Plaintiffs’ 1st and 2nd Sets of Interrogatories (“ROGs”),
Plaintiffs have “once again…fail[ed] to meet the deadline to present disputes regarding ‘Existing
Written Discovery.’” Dkt. 253. As the Court knows, Plaintiffs were obligated to bring disputes
on Existing Written Discovery by Oct. 23, 2024, later extended to Nov. 9, 2024 (Dkt. 253). The
1st and 2nd Sets of ROGs, to which Meta first responded on Feb. 23, 2024 and Sept. 30, 2024,
respectively, were clearly “Existing Written Discovery.” If Plaintiffs had concerns regarding those
responses, they should have timely brought them by Nov. 9, 2024, not on the last day to bring
discovery disputes. Meta has identified each of these interrogatories as “Waived” below.
        Meta’s supplementation of certain responses for the 1 st and 2nd Sets of ROGs does not
render Plaintiffs’ motion timely. Plaintiffs’ issues could have been brought months ago, but were
not. For instance, Plaintiffs take issue with Meta’s consistent objections to certain definitions to
the 1st and 2nd Sets of ROGs, served in February and September. Compare, Ex. B (Meta’s
Responses to ROGs, Set One, served Feb. 23, 2024), Ex. C (Meta’s Responses to ROGs, Set Two,
served Sep. 30, 2024). Moreover, the details Plaintiffs now claim are missing were not included
in prior responses to the 1st and 2nd Sets of ROGs, thus there were no “new” issues in those
responses for Plaintiffs to raise here.
        Equally puzzling is that much of Meta’s supplementation of its responses to the 1 st and 2nd
Sets of ROGs was the result of prior meet and confers and compromises reached between the
parties. See, e.g., Ex. D (Oct. 2024 emails reflecting agreements as to ROGs 3, 4, and 13). As to
Plaintiffs’ 3rd Set of ROGs, the parties met and conferred on Meta’s initial responses to those
ROGs weeks ago, and Meta supplemented its responses to avoid motion practice. See, e.g., Ex. E
at 1 (Nov. 26, 2024 email confirming parties’ dispute as to ROGs 19, 20 and 22 were “moot”).
Other than ROG 22, none of the issues raised then included the issues Plaintiffs raise now.
        While the motion should be denied as untimely, it should also be denied on the merits.
Plaintiffs fail to address or even acknowledge Meta’s objections to the ROGs at issue. These
include, but are not limited to, objections based on undue burden, proportionality, relevance, and
privilege. Plaintiffs do not challenge these objections, which are proper and appropriately limit
Meta’s responses. Nor do Plaintiffs explain the relevance or proportionality of the additional
information they seek in response to ROGs 3, 4, 7, 10, 13, 19, or 23 (apart from information
relating to Llama 4 and 5, discussed below).
        As to Llama 4 and 5,2 Plaintiffs’ reliance on this Court’s prior orders concerning Meta’s
RFP responses is unavailing. Plaintiffs’ 1st and 2nd Set of ROGs define “Meta Language Models”
in reference to Llama 1-3–they do not encompass Llama 4 and 5. See Ex. F (excerpts of Plaintiffs’
1st and 2nd ROGs). Furthermore, Meta’s responses to Plaintiffs’ 2nd and 3rd Sets of ROGs are not
limited to Llama 1-3. Plaintiffs are also far past the deadline to bring disputes concerning the 1 st

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  In addition to Plaintiffs’ challenges to Meta’s objections as to all ROGs, Plaintiffs’ challenges to Meta’s
responses to ROGs 1, 3, 7, 8, and 13 are also based, in whole or in part, on Meta’s purported failure to
address or include Llama 4 and 5.


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               ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)

       I hereby attest that I obtained concurrence in the filing of this document from each of the

other signatories. I declare under penalty of perjury that the foregoing is true and correct.



Dated: December 20, 2024                                      BOIES SCHILLER FLEXNER LLP


                                                              /s/ Maxwell V. Pritt
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